Case 23-11240-TMH   Doc 273-1   Filed 10/17/23   Page 1 of 5




                       Exhibit 1
Case 23-11240-TMH   Doc 273-1   Filed 10/17/23   Page 2 of 5




                      EXHIBIT H
              Case 23-11240-TMH            Doc 273-1       Filed 10/17/23         Page 3 of 5



From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Wednesday, September 27, 2023 11:33 AM
To: Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P.
Cairns <tcairns@pszjlaw.com>; Mary F. Caloway <mcaloway@pszjlaw.com>; Culver, Donna
<DCulver@morrisnichols.com>; Briggs, Thomas <TBriggs@morrisnichols.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Max, you cannot dictate what the UCC does or who they hire. I think you can try but the court will
address. On information flow, we have asked a bunch of questions and for information/docs. Today is
the objection deadline and today you started to send some info. Your call how to try and run your
case. Have you provided the info to the UST?

        Robert J. Dehney, Esquire
        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        1201 North Market Street, 16th Flr.
        P.O. Box 1347
        Wilmington, DE 19899‐1347
        Main Number: 302.658.9200
        Direct Dial:   302.351.9353
        Cell Number: 302.898.9312
        Fax Number: 302.425.4673
        Spelling and grammatical oddities are attributable to my iPhone!


On Sep 27, 2023, at 2:26 PM, Maxim Litvak <mlitvak@pszjlaw.com> wrote:


We have a number of documents/emails to produce to you that we have designated as confidential. If
this has nothing to do with Kasowitz as you say, then you should agree not to disclose such items to
Kasowitz. If you have follow‐up questions after reviewing the materials, then we can schedule a call
with Paladin to discuss. We also have a Budget that is being finalized and hope to file soon.

Please also get us an issues list with respect to the proposed final DIP order.

This process should not be this complicated.


From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Wednesday, September 27, 2023 11:20 AM
To: Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P.
Cairns <tcairns@pszjlaw.com>; Mary F. Caloway <mcaloway@pszjlaw.com>; Culver, Donna
<DCulver@morrisnichols.com>; Briggs, Thomas <TBriggs@morrisnichols.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

Max, on the variance info, is it confidential? I am struggling to see how any info we have requested is
confidential. I understand the position you are taking on Kasowitz and the UCC will address but that is
              Case 23-11240-TMH            Doc 273-1       Filed 10/17/23       Page 4 of 5



not the focus of thee requests or questions. And no basis for all of the delays. If you believe something is
confidential please explain. Same for proprietary because you have shut down, and we need to
understand the thinking before we bother the court. I am not even sure what you have that could be
privileged under the circumstances and in event how UCC and Debtors would not have a common
interest. Again, I am asking for you to explain where there is an issue or day light. All of this has nothing
to do with your effort to DQ Kasowitz.

        Robert J. Dehney, Esquire
        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        1201 North Market Street, 16th Flr.
        P.O. Box 1347
        Wilmington, DE 19899‐1347
        Main Number: 302.658.9200
        Direct Dial:   302.351.9353
        Cell Number: 302.898.9312
        Fax Number: 302.425.4673
        Spelling and grammatical oddities are attributable to my iPhone!


On Sep 27, 2023, at 2:13 PM, Maxim Litvak <mlitvak@pszjlaw.com> wrote:


PEO for the items that we designate as PEO. Not the variance report.

And again, you have not answered our questions regarding whether you intend to share with
Kasowitz. Even if not confidential, they should not be involved due to a conflict.


From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Wednesday, September 27, 2023 11:09 AM
To: Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P.
Cairns <tcairns@pszjlaw.com>; Mary F. Caloway <mcaloway@pszjlaw.com>; Culver, Donna
<DCulver@morrisnichols.com>; Briggs, Thomas <TBriggs@morrisnichols.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

You have said PEO and asked that I not share things.

        Robert J. Dehney, Esquire
        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        1201 North Market Street, 16th Flr.
        P.O. Box 1347
        Wilmington, DE 19899‐1347
        Main Number: 302.658.9200
        Direct Dial:   302.351.9353
        Cell Number: 302.898.9312
        Fax Number: 302.425.4673
        Spelling and grammatical oddities are attributable to my iPhone!



                                                     2
             Case 23-11240-TMH           Doc 273-1      Filed 10/17/23      Page 5 of 5




On Sep 27, 2023, at 2:07 PM, Maxim Litvak <mlitvak@pszjlaw.com> wrote:


By “others”, do you mean Kasowitz?

The variance report was not marked as confidential.


From: Dehney, Robert [mailto:RDehney@morrisnichols.com]
Sent: Wednesday, September 27, 2023 9:55 AM
To: Maxim Litvak <mlitvak@pszjlaw.com>
Cc: Laura Davis Jones <ljones@pszjlaw.com>; David Bertenthal <dbertenthal@pszjlaw.com>; Timothy P.
Cairns <tcairns@pszjlaw.com>; Mary F. Caloway <mcaloway@pszjlaw.com>; Culver, Donna
<DCulver@morrisnichols.com>; Briggs, Thomas <TBriggs@morrisnichols.com>
Subject: Re: [EXT] RE: In re AmeriFirst Financial, Inc., Case No. 23‐11240 (TMH)

What is the reason the UST and others cannot see the budget info? What is confidential or proprietary?

       Robert J. Dehney, Esquire
       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       1201 North Market Street, 16th Flr.
       P.O. Box 1347
       Wilmington, DE 19899‐1347
       Main Number: 302.658.9200
       Direct Dial:   302.351.9353
       Cell Number: 302.898.9312
       Fax Number: 302.425.4673
       Spelling and grammatical oddities are attributable to my iPhone!




                                                   3
